Case 2:17-cr-20274-BAF-DRG ECF No. 318 filed 08/24/18   PageID.2339   Page 1 of 9




                       UNITED STATES OF AMERICA
                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

 ____________________________________

 UNITED STATES OF AMERICA,                 Case No. 17-cr-20274

               Plaintiff,                  Honorable Bernard A. Friedman

 v.                                        MOTION AND BRIEF TO
                                           AMEND BOND CONDITIONS
 FAKHRUDDIN ATTAR, D-02,
 and                                       EXPEDITED CONSIDERATION
 FARIDA ATTAR, D-03,                       REQUESTED

               Defendants.

 ____________________________________

       Fakhruddin Attar, M.D., through his attorney Mary Chartier, and

 Farida Attar, through her attorney Matthew Newburg, move to amend

 their bond conditions. Counsel has been unable to receive concurrence

 from the Assistant United States Attorney.

       The Attars request that this motion be considered on an expedited

 basis because their daughter starts school on September 5, and they

 need to determine how they can get her to school.

       The Attars request the following amendments to their bond

 conditions.
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Case 2:17-cr-20274-BAF-DRG ECF No. 318 filed 08/24/18   PageID.2340   Page 2 of 9




     1. Allow the Attars to take their ten-year-old daughter back and

       forth to school and to her state court-ordered therapy. Only one

       parent would take her to school and therapy except for the family

       therapy where they both must go. The Attars are on a GPS tether,

       so it will be clear when they leave and come back home.

     2. Allow for their daughter to have playdates at her home with other

       family members supervising the playdates, and the Attars

       remaining in their bedroom with no contact with those visiting.

     3. Allow people to come to the outside of the home to take their

       daughter and her grandparents places – e.g., the mosque, the park,

       play dates, grocery shopping. These people would not come in to the

       house – they would wait at the end of the driveway and have no

       interaction with the Attars. The grandparents living in the home

       do not drive and walking to go grocery shopping and for other

       errands is not feasible.

     4. Allow the internet and computers to be used by those residing in

       the Attars’ home, including their ten-year-old daughter. At the July

       6, 2017 hearing, this Court indicated that there could be computers

       in the house and internet because the Attars’ daughter lives there,
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Case 2:17-cr-20274-BAF-DRG ECF No. 318 filed 08/24/18   PageID.2341   Page 3 of 9




       but Dr. Attar and Mrs. Attar could not use them. (Exh. A, 49-52.)

       This would only memorialize in an order what this Court has

       already stated on the record would be allowed. This is only similar

       to what is done in cases, such as those that fall under the Adam

       Walsh Act. Notably, this case does not fall under the Adam Walsh

       Act.

     5. Allow the internet to be used by the Attars to communicate with

       counsel and to engage in daily activities, subject to the condition

       that they do not interact – directly or indirectly – with those who

       may be witnesses in the case. The broad ban on internet use is

       overly broad. See, e.g., Packingham v. North Carolina, 137 S. Ct.

       1730, 1738 (2017).

       As this Court is undoubtedly aware, an order of pretrial release

 must be subject to the least restrictive condition or combination of

 conditions that will reasonably assure the appearance of the person as

 required and the safety of any other person in the community. 18 U.S.C.

 § 3142(c). The Attars are certainly not a flight risk. Before being arrested,

 Dr. Attar had been interviewed by agents, the clinic had been raided, and



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Case 2:17-cr-20274-BAF-DRG ECF No. 318 filed 08/24/18   PageID.2342   Page 4 of 9




 Dr. Nagarwala had been arrested, yet the Attars never tried to flee. In

 fact, they were arrested while working at the clinic.

       Moreover, the Attars are no risk to the safety of any person in the

 community. They have no criminal history whatsoever. The allegations

 stem from a religious practice that only involved members of their

 religion with the consent of the child’s parents. They have been compliant

 with the bond conditions imposed by this court. When the Attars were

 living at the hotel and were confined to their room, they did not even

 leave their hotel room when a fire alarm went off because they were

 afraid of violating their bond conditions.

       Counsel anticipates that the government will argue that due to the

 nature of the charges the Attars’ conditions are warranted. Dr. Attar has

 been charged with conspiracy to commit female genital mutilation

 (FGM), two counts of FGM, and one count of conspiracy to obstruct an

 official proceeding. (Second Superseding Indictment, RE 153, Page ID #

 1266-1276.) Mrs. Attar has been charged with conspiracy to commit

 female genital mutilation (FGM), three counts of FGM, and one count of

 conspiracy to obstruct an official proceeding. (Second Superseding

 Indictment, RE 153, Page ID # 1266-1276.) The following is a brief
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Case 2:17-cr-20274-BAF-DRG ECF No. 318 filed 08/24/18   PageID.2343   Page 5 of 9




 summary of the charges and some of the conditions for others charged in

 this case.

       Tahera Shafiq is charged with conspiracy to commit FGM and two

 counts of FGM. (Second Superseding Indictment, RE 153, Page ID #

 1266-1276.) Mrs. Shafiq’s bond conditions were that she was on home

 detention, restricted to her residence at all times except for employment;

 education; religious services; medical, substance abuse, or mental health

 treatment; attorney visits; court appearances; court-ordered obligations;

 or other activities pre-approved by the pretrial services office or

 supervising officer with restrictions on internet use. (Order, RE 7, Page

 ID # 499-502.) Mrs. Shafiq’s conditions have been amended to allow her

 to attend counseling. (Stipulation, RE 222, Page ID # 1655-1656.)

       Farida Arif is charged with conspiracy to commit FGM and one

 count of FGM. (Second Superseding Indictment, RE 153, Page ID # 1266-

 1276.) While initially ordered to wear a GPS tether, by order of this

 Court, Mrs. Arif’s GPS tether was removed. (Order, RE 259, Page ID #

 1855.) Mrs. Arif’s motion for the tether removal detailed that she is a

 stay-at-home mother who cares for her children and family, takes her

 children to school events, and goes to mosque. (Motion, RE 201, Page ID
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Case 2:17-cr-20274-BAF-DRG ECF No. 318 filed 08/24/18   PageID.2344   Page 6 of 9




 # 1592-1583.) By stipulation, Mrs. Arif has also been allowed to leave the

 State of Michigan for a vacation with her family. (Stipulation, RE 311,

 Page ID # 2312-2313.)

       Fatema Dahodwala is charged with conspiracy to commit FGM, one

 count of FGM, and one count of conspiracy to obstruct an official

 proceeding. (Second Superseding Indictment, RE 153, Page ID # 1266-

 1276.) While initially ordered to wear a GPS tether, by order of this

 Court, Mrs. Dahodwala’s GPS tether was removed. (Order, RE 259, Page

 ID # 1855.) Mrs. Dahodwala’s motion for the tether removal detailed that

 she is a stay-at-home mother who cares for her children and family, takes

 her children to school events, and goes to mosque. (Motion, RE 203, Page

 ID # 1592-1598.) Notably, there are no internet restrictions for Mrs.

 Dahodwala. By stipulation, Mrs. Dahodwala is allowed to travel

 throughout the State of Michigan. (Stipulation, RE 302, Page ID # 2051-

 2053.)

       Haseena Halfal is charged with conspiracy to commit FGM and one

 count of FGM. (Second Superseding Indictment, RE 153, Page ID # 1266-

 1276.) Mrs. Halfal lives in Minnesota, and she is not on house arrest or

 GPS tether. (Order Setting Conditions of Release, RE 178, Page ID #
                                      6 

  
Case 2:17-cr-20274-BAF-DRG ECF No. 318 filed 08/24/18   PageID.2345   Page 7 of 9




 1459-1462.) She is allowed to take her children to school and engage in

 all the functions of her daily life.

       Zainab Hariyanawala is charged with conspiracy to commit FGM

 and one count of FGM. (Second Superseding Indictment, RE 153, Page

 ID # 1266-1276.) Mrs. Hariyanawala lives in Minnesota, and she is not

 on house arrest or GPS tether. (Order Setting Conditions of Release, RE

 181, Page ID # 1467-1468.) She is allowed to take her children to school

 and engage in all the functions of her daily life. By stipulation, Mrs.

 Hariyanawala is also allowed to attend religious services at her mosque,

 as long as she avoids all contact with her co-defendants and anyone who

 is or may become a witness in the case. (Stipulation, RE 189, Page ID #

 1497-1498.)

       The anticipated argument that it would be difficult to monitor what

 the Attars do is the same argument that could be made for any defendant,

 in any case, including the defendants in this case. Notably, there has not

 been one allegation of a bond violation brought against any of the

 defendants in this case in the one year and over four months that this

 case has been pending.



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Case 2:17-cr-20274-BAF-DRG ECF No. 318 filed 08/24/18   PageID.2346   Page 8 of 9




       Currently, trial is still approximately five months away. The Attars

 only seek reasonable amendments to their bond conditions, such as one

 of them being allowed to take their daughter to school and allowing

 people to come to their driveway to take their daughter to mosque and

 allowing their daughter to access the internet to watch television and do

 schoolwork. Granting these amendments will be in accord with the

 statutory mandate that the conditions be the least restrictive condition

 or combination of conditions to ensure appearance and safety.

       Accordingly, Dr. Attar and Mrs. Attar respectfully request that this

 Court amend their bond conditions.

                                    Respectfully submitted,

 08/24/2018                         /s/MARY CHARTIER
 Date                               Mary Chartier


 08/24/2018                         /s/MATTHEW NEWBURG
 Date                               Matthew Newburg




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Case 2:17-cr-20274-BAF-DRG ECF No. 318 filed 08/24/18   PageID.2347   Page 9 of 9




                            Certificate of Service

 I hereby certify that on August 24, 2018, I electronically filed the
 foregoing document with the Clerk of the Court using the ECF system
 which will send notification to parties enrolled through the ECF system.
 A hard copy has been mailed via the United States Postal Service to those
 who are not enrolled.

 /s/MARY CHARTIER
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